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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



 UNITED STATES OF AMERICA

    v.                                                    No. 1:19-MJ-06087-MPK-3

 GAMAL ABDELAZIZ



                    DEFENDANT GAMAL ABDELAZIZ’S MOTION TO
                     MODIFY PRETRIAL CONDITIONS TO ALLOW
                        INTERNATIONAL BUSINESS TRAVEL

         Defendant Gamal Abdelaziz respectfully requests that this Court modify his conditions of

pretrial release to allow him to retain control of his U.S. passport and to travel internationally

solely for business purposes with prior notice to Pretrial Services, pursuant to 18 U.S.C. §§

3145(a)(2) and 3142(b)-(c). As outlined in the supporting Memorandum, Mr. Abdelaziz is not a

flight risk and has longstanding ties to the Las Vegas, Nevada area. Importantly, such a

modification would be consistent with the conditions this Court has placed on other defendants

in this matter. See ECF 17 (regarding defendant Hodge).

         As a first request, Mr. Abdelaziz respectfully requests permission to travel to Cabo,

Mexico for business purposes (i.e., the development of a new resort) during the first week of

April 2019.




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                                                             Respectfully submitted,

                                                             GAMAL ABDELAZIZ

                                                             By his attorneys,

                                                              /s/ Brian T. Kelly
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  Dated: March 28, 2019




                         LOCAL RULE 7.1(A)(2) CERTIFICATION

        I hereby certify that I conferred with counsel for the government in an attempt to resolve
or narrow the issues raised by this motion and the government has notified me that it will oppose
all defendants’ motions for international travel.


                                                             /s/ Brian T. Kelly
                                                             Brian T. Kelly



                                 CERTIFICATE OF SERVICE

I hereby certify that a copy of the forgoing was filed electronically on March 28, 2019, and
thereby delivered by electronic means to all registered participants as identified on the Notice of
Electronic Filing.


                                                             /s/ Brian T. Kelly
                                                             Brian T. Kelly




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